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                 4                                UNITED STATES DISTRICT COURT
                 5                                       DISTRICT OF NEVADA
                 6                                                  ***
                 7    DONNA M. GIVENS,                                     Case No. 2:19-CV-1577 JCM (DJA)
                 8                                         Plaintiff(s),                     ORDER
                 9           v.
               10     SETERUS, INC., et al.,
               11                                        Defendant(s).
               12
               13            Presently before the court is the matter of Givens v. Equifax Information Services, LLC et
               14     al., case number 2:19-cv-01577-JCM-DJA.
               15            On March 26, 2020, the parties stipulated to dismiss Trans Union LLC with prejudice.
               16     (ECF No. 32).      The court granted the stipulation on March 30, 2020.          (ECF No. 34).
               17     Accordingly, the court denies Trans Union’s pending motion to dismiss as moot. (ECF No. 25).
               18            Also pending before the court is defendant Seterus, Inc.’s motion to consolidate cases.
               19     (ECF No. 14). On March 27, 2020, plaintiff Donna Givens and Seterus filed a joint status report,
               20     indicating that “[a] settlement agreement has been prepared, finalized and fully executed” for the
               21     instant action. (ECF No. 33). The parties further represent that Seterus must deliver a settlement
               22     check, which they had anticipated to take 30 days. Id.
               23            On May 13, 2020, the parties represented that they anticipate that it will take an
               24     additional 30 days for Seterus to deliver the settlement check. (ECF No. 35). In light of the
               25     parties’ settlement and continued representations, the court will eventually dismiss this case
               26     pursuant to the settlement reached in this case. Thus, consolidation is unnecessary, and the court
               27     denies Seterus’s motion to consolidate cases as moot.
               28            Accordingly,

James C. Mahan
U.S. District Judge
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                1            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that Trans Union’s motion to
                2     dismiss (ECF No. 25) be, and the same hereby is, DENIED as moot.
                3            IT IS FURTHER ORDERED that Seterus’s motion to consolidate cases (ECF No. 14) be,
                4     and the same hereby is, DENIED as moot.
                5            IT IS FURTHER ORDERED that the Givens and Seterus shall file a joint status report or
                6     a stipulation to dismiss this action as to Seterus within 14 days of this order.
                7            DATED May 15, 2020.
                8                                                    __________________________________________
                                                                     UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                    -2-
